
662 S.E.2d 667 (2008)
STATE of North Carolina
v.
James Allen TURNAGE, Jr.
No. 228A08.
Supreme Court of North Carolina.
May 20, 2008.
Catherine F. Jordan, Assistant Attorney General, C. Colon Willoughby, Jr., District Attorney, for State of NC.
Emily H. Davis, Assistant Appellate Defender, for Turnage.

ORDER
Upon consideration of the petition filed by State of NC on the 20th day of May 2008 for Writ of Supersedeas of the judgment of the Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Allowed by order of the Court in conference, this the 20th day of May 2008."
